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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


 NETCHOICE, LLC, et al.,
      Plaintiffs,
                                                          Civil Action No. 1:21-cv-00840-RP
 v.

 KEN PAXTON, in his official capacity as
 Attorney General of Texas,
       Defendant.



                               DEFENDANT’S NOTICE OF APPEAL

       Pursuant to Federal Rules of Appellate Procedure 3(a)(1) and 4(a)(1)(A), Defendant Ken

Paxton gives this notice of appeal to the United States Court of Appeals for the Fifth Circuit from

the order granting the plaintiff’s motion for a preliminary injunction and denying Defendant’s

Motion to Dismiss for lack of Article III standing entered in this case on December 1, 2021. Dkt.

51.

                                             Respectfully Submitted.

                                             KEN PAXTON
                                             Attorney General of Texas

                                             BRENT WEBSTER
                                             First Assistant Attorney General

                                             GRANT DORFMAN
                                             Deputy First Assistant Attorney General

                                             SHAWN COWLES
                                             Deputy Attorney General for Civil Litigation

                                             THOMAS A. ALBRIGHT
                                             Division Chief
                                             General Litigation Division



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                                  CERTIFICATE OF SERVICE

       I certify that on December 6, 2021 the foregoing was filed electronically via the Court’s

CM/ECF system, causing electronic service upon all counsel of record.

                                             /s/ Courtney Corbello
                                             COURTNEY CORBELLO
                                             Assistant Attorney General




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                                NOTICE OF ELECTRONIC FILING

       I certify that I have electronically submitted a true and correct copy of the above for filing

in accordance with the Electronic Case Files system of the United States District Court for the

Western District of Texas, on December 6, 2021.

                                              /s/ Courtney Corbello
                                              COURTNEY CORBELLO
                                              Assistant Attorney General




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